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Case 8:15-cr-OOO77-.]LS Document 8 Filed 07/23/15 Page 1 of 43 Page |D #:25

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Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

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C‘f ; FOR THE CENTRAL DISTRICT OF CALIFORNIA

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UNDTE§§STATES OF AMERICA, NO. SA CR 15-

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j;w P1aintiff, PLEA AGREEMENT FOR DEFENDANT
JAMES L. CANEDO

 

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JAMES L. CANEDO,
[UNDER SEAL]

Defendant.

 

 

1. This constitutes the plea agreement between JAMES L.
CANEDO (“defendant”) and the United Statee Attorney'S Office for the
Central Dietrict of California (“the USAO”) in the above-captioned
case. Thie agreement is limited to the USAO and cannot bind any
other federal, State, local, or foreign prosecuting, enforcement,

administrative, or regulatory authorities.

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Case 8:15-cr-OOO77-.]LS Document 8 Filed 07/23/15 Page 2 of 43 Page |D #:26

DEFENDANT’S OBLIGATIONS

 

2._ Defendant agrees to:

a) Give up the right to indictment by a grand jury and,
at the earliest opportunity requested by the USAO and provided by
the Court, appear and plead guilty to a one-count criminal
Information in the form attached to this agreement as Exhibit A or a
substantially similar form, which charges defendant with Conspiracy
in violation of 18 U.S.C. § 371.

b) 'Not contest facts agreed to in this agreement.

c) Abide by all agreements regarding sentencing
contained in this agreement. 1

d) lAppear for all court appearances, surrender as
ordered for service of sentence, obey all conditions of any bond,
and obey any other ongoing court order in this matter.

e) Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines (“U S.S.G.” or “Sentencing Guidelines”) § 4Al.2(C) are
not within the scope of this agreement.

f) Be truthful at all times with Pretrial Services, the
United States Probation Office, and the Court.

g) Pay the applicable special assessments at or before
the time of sentencing unless defendant lacks the ability to pay and
prior to sentencing submits a completed financial statement on a
form to be provided by the USAO.

3. defendant further agrees:

a) Truthfully to disclose to law enforcement officials,

at a date and time to be set by the USAO, the location of,

defendant’s ownership interest in, and all other information known

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Case 8:15-cr-OOO77-.]LS Document 8 Filed 07/23/15 Page 3 of 43 Page |D #:27

to defendant about, all monies,#properties, and/or assets of any
kind, derived from or acquired as a result of, or used to facilitate
the commission of, defendant's illegal activities, and to forfeit
all right, title, and interest in and to such items.

b) To the Court's entry of an order of forfeiture at or
before sentencing with respect to these assets and to the forfeiture
of the assets.

c) To take whatever steps are necessary to pass to the
United States clear title to the assets described above, including,
without limitation, the execution of a consent decree of forfeiture
and the completing of any other legal documents required for the
transfer of title to the United States,

d) Not to contest any administrative forfeiture
proceedings or civil judicial proceedings commenced by the United
States of America against these properties.

e) Not to assist any other individual in any effort
falsely to contest the forfeiture of the assets described above.

vf) Not to claim that reasonable cause to seize the
assets was lacking.

g) To prevent the transfer, sale, destruction, or loss
of any and all assets described above to the extent defendant has
the ability to do so.

h) To fill out and deliver to the USAO a completed
financial statement listing defendant's assets on a form provided by
the USAO. n

4. Defendant further agrees to cooperate fully with the USAO,
the Federal Bureau of Investigation, the United States Postal

Service - Office of Inspector General, the Internal Revenue Service,

 

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Case 8:15-cr-OOO77-.]LS Document 8 Filed 07/23/15 Page 4 of 43 Page |D #:28

and, as directed by the USAO, any other federal, state, local, or
foreign prosecuting, enforcement, administrative, or regulatory
authority. This cooperation requires defendant to:

a) Respond truthfully and completely to all questions
that may be put to defendant, whether in interviews, before a grand
jury, or at any trial or other court proceeding.

b) Attend all meetings, grand jury sessions, trials or
other proceedings at which defendant's presence is requested by the
USAO or compelled by subpoena or court order.

c) Produce voluntarily all documents, records, or other
tangible evidence relating to matters about which the USAO, or its
designee, inquires.

5. For purposes of this agreement: (l) ”Cooperation
Information” shall mean any statements made, or documents, records,
tangible evidence, or other information provided, by defendant
pursuant to defendant's cooperation under this agreement; and
(2) ”Plea Information” shall mean any statements made by defendant,
under oath, at the guilty plea hearing and the agreed to factual
basis statement in this agreement.

THE USAO'S OBLIGATIONS

 

6. The USAO agrees to:
a) Not contest facts agreed to in this agreement.
b) Abide by all agreements regarding sentencing

contained in this agreement.

c) At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up to
and including the time of sentencing, recommend a two~level

reduction in the applicable Sentencing Guidelines offense level,

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Case 8:15-cr-OOO77-.]LS Document 8 Filed 07/23/15 Page 5 of 43 Page |D #:29

pursuant to U.S.S.G. § 3E1.1, and recommend and, if necessary, move
for an additional one-level reduction if available under that
section.

d) Except for criminal tax violations (including
conspiracy to commit such violations chargeable under 18 U.S.C.

§ 371), not further criminally prosecute defendant for violations
arising out of defendant's conduct described in the agreed-to
factual basis set forth in paragraph 19 below. Defendant
understands that the USAO is free to criminally prosecute defendant
for any other unlawful past conduct or any unlawful conduct that
occurs after the date of this agreement. Defendant agrees that at
the time of sentencing the Court may consider the uncharged conduct
in determining the applicable Sentencing Guidelines range, the
propriety and extent of any departure from that range, and the
sentence to be imposed after consideration of the Sentencing
Guidelines and all other relevant factors under 18 U.S.C. § 3553(a).
7. The USAO further agrees:

a) Not to offer as evidence in its case-in-chief in the
above-captioned case or any other criminal prosecution that may be
brought against defendant by the USAO, or in connection with any
sentencing proceeding in any criminal case that may be brought
against defendant by the USAO, any Cooperation Information.
Defendant agrees, however, that the USAO may use both Cooperation
Information and Plea Information: (1) to obtain and pursue leads to
other evidence, which evidence may be used for any purpose,
including any criminal prosecution of defendant; (2) to cross-
examine defendant should defendant testify, or to rebut any evidence

offered, or argument or representation made, by defendant,

 

 

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Case 8:15-cr-OOO77-.]LS Document 8 Filed 07/23/15 Page 6 of 43 Page |D #:30

defendant's counsel, or_a witness called by defendant in any trial,
sentencing hearing, or other court proceeding; and (3) in any
criminal prosecution of defendant for false statement, obstruction
of justice, or perjury.

b) Not to use Cooperation Information against defendant
at sentencing for the purpose of determining the applicable
guideline range, including the appropriateness of an upward
departure, or the sentence to be imposed, and to recommend to the
Court that Cooperation Information not be used in determining the
applicable guideline range or the sentence to be imposed. Defendant
understands, however, that Cooperation Information will be disclosed
to the probation office and the Court, and that the Court may use
Cooperation lnformation for the purposes set forth in U.S.S.G
§ lBl.S(b) and for determining the sentence to be imposed.

c) In connection with defendant's sentencing, to bring
to the Court’s attention the nature and extent of defendant's'
cooperation. v

d) If the USAO determines, in its exclusive judgment,
that defendant has both complied with defendant's obligations under
paragraphs 2 through 4 above and provided substantial assistance to
law enforcement in the prosecution or investigation of another
(“substantial assistance”), to move the Court pursuant to U.S.S.G.
§ 5K1.1, to fix an offense level and corresponding guideline range
below that otherwise dictated by the sentencing guidelines, and to
recommend a term of imprisonment within this reduced range.

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Case 8:15-cr-OOO77-.]LS Documeht 8 Filed 07/23/15 Page 7 of 43 Page |D #:31

SEFENDANT'S UNDERSTANDINGS REGARDING COOPERATION
8, Defendant understands the following:

a) Any knowingly false or misleading statement by
defendant will subject defendant to prosecution for false statement,
obstruction of justice, and perjury and will constitute a breach by
defendant of this agreement.

b) Nothing in this agreement requires the USAO or any
other prosecuting, enforcement, administrative, or regulatory
authority to accept any cooperation or assistance that defendant may
offer, or to use it in any particular way.

c) Defendant cannot withdraw defendant's guilty plea if
the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 for a
reduced guideline range or if the USAO makes such a motion and the
Court does not grant it or if the Court grants such a USAO motion
but elects to sentence above the reduced range.

d) At this time the USAO makes no agreement or
representation as to whether any cooperation that defendant has
provided or intends to provide constitutes or will constitute
substantial assistance. The decision whether defendant has provided
substantial assistance will rest solely within the exclusive
judgment of the USAO.

e) The USAO's determination whether defendant has
provided substantial assistance will not depend in any way on
whether the government prevails at any trial or court hearing in
which defendant testifies or in which the government otherwise

presents information resulting from defendant's cooperation.

 

 

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Case 8:15-cr-OOO77-.]LS Document 8 Filed 07/23/15 Page 8 of 43 Page |D #:32

NATURE OF THE OFFENSE

 

9. Defendant understands that for defendant to be guilty of
the crime charged in count one of the Information, that is,
Conspiracy, in violation of Title 18, United States Code, Section
371, the following must be true: (1) Beginning in or around 1999
and continuing through in or around October 2013, there was an
agreement between two or more persons to commit a violation of Title
18, United States Code, Sections 1341 and 1346 (Mail Fraud and
Honest Services Mail Fraud); Title 18, United States Code, Section
1952(a)(3) (Interstate Travel in Aid of a Racketeering Enterprise);
Title 18, United States Code, Section 1957 (Monetary Transactions in
Property Derived from Specified Unlawful Activity); and Title 42,
United States Code, Section 1320a-7bfb)(2)(A) (Payment or Receipt of
Kickbacks in Connection with a Federal Health Care Program); (2)
defendant became a member of the conspiracy knowing of at least one
of its objects and intending to help accomplish it; and (3) one of
the members of the conspiracy performed at least one overt act for
the purpose of carrying out the conspiracy.

10. Defendant understands that Mail Fraud, in violation of
Title 18, United States Code, Section 1341, has the following'
elements: (1) the defendant knowingly devised or participated in a
scheme or plan to defraud, or a scheme or plan for obtaining money
or property by means of false or fraudulent pretenses,
representations or promises; (2) the statements made or facts
omitted as part of the scheme were material, that is, they had a
natural tendency to influence, or were capable of influencing, a
person to part with money or property; (3) the defendant acted with

the intent to defraud; and (4) the defendant used, or caused to be

 

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CaSe 8:15-cr-OOO77-.]LS Document 8 Filed 07/23/15 Page 9 of 43 Page |D #:33

used, the mails to carry out or attempt to carry out an essential
part of the scheme. Defendant further understands that Honest
Services Mail Fraud, in violation of Title 18, United States Code,
Section 1346, has the following elements: (1) the defendant devised
or participated in a scheme or plan to deprive a patient of his or
her right to honest services; (2) the scheme or plan consisted of a
bribe or kickback in exchange for medical services; (3) a medical
professional person owed a fiduciary duty to the patient; (4) the
defendant acted with the intent to defraud by depriving the patient
of his or her right of honest services; (5)_the defendant's act was
material, that is, it had a natural tendency to influence, or was
capable of influencing, a person's acts; and (6) the defendant used,
or caused someone to use, the mails to carry out or attempt to carry
out the scheme or plan.

11. Defendant understands that Interstate Travel in Aid of a
Racketeering Enterprise, in violation of Title 18, United States
Code, Section 1952(a)(3)/ has the following elements: (1) defendant
used the mail or a facility of interstate commerce with the intent
to promote, manage, establish, or carry on, or facilitate the
promotion, management, establishment, or carrying on, of unlawful
activity, specifically payment and receipt of kickbacks in violation
of California Business & Professions Code § 650, California
Insurance Code § 750, and California Labor Code § 3215; and (2)
after doing so, defendant performed or attempted to perform an act
to promote, manage, establish, or carry on, or facilitate the
promotion, management, establishment, or carrying on, of such

unlawful activity.

 

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SaSe 8:15-cr-OOO77-.]LS Document 8 Filed 07/23/15 Page 10 of 43 Page |D #:34

12. Defendant understands that Money Laundering, in violation
of Title 18, United States Code, Section 1957, has the following
elements: (1) the defendant knowingly engaged or attempted to
engage in a monetary transaction; (2) the defendant knew the
transaction involved criminally derived property; (3) the property
had a value greater than $10,000; (4) the property was, in fact,
derived from mail fraud; and (5) the transaction occurred in the
United States. `

13. Defendant understands that Payment of Kickbacks in
Connection with a Federal Health Care Program, in violation of 42
U.S.C. § 1320a-7b(b)(2)(A), has the following elements: (1)
defendant knowingly and wilfully paid remuneration, directly or
indirectly, in cash or in kind, to another person; (2) the
remuneration was given to induce that person to refer an individual
for the furnishing or arranging for the furnishing of any item or
service for which payment may be made in whole or in part under a
Federal health care program; and (3) defendant knew that such
payment of remuneration was illegal.

PENALTIES AND RESTITUTION

 

14. Defendant understands that the total statutory maximum
sentence that the Court can impose for a violation of Title 18,
United States Code, Section 371, is: 5 years imprisonment; a 3-year
period of supervised release; a fine of $250,000 or twice the gross
gain or gross loss resulting from the offense, whichever is
greatest; and a mandatory special assessment of $100.

15. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be

subject to various restrictions and requirements. Defendant

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JaSe 8:15-cr-OOO77-.]LS Document 8 Filed 07/23/15 Page 11 of 43 Page |D #:35

understands that if defendant violates one or more of the conditions
of any supervised release imposed, defendant may be returned to
prison for all or part of the term of supervised release authorized
by statute for the offense that resulted in the term of supervised
release, which could result in defendant serving a total term of
imprisonment greater than the statutory maximum stated above.

16. xDefendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury.
Defendant understands that once the court accepts defendant/s guilty
plea, it will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands that the convictions in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will not serve as grounds to
withdraw defendant's guilty plea.

17. Defendant understands that, if defendant is not a United
States citizen, the felony convictions in this case may subject
defendant to: removal, also known as deportation, which may, under
some circumstances, be mandatory; denial of citizenship; and denial
of admission to the United States in the future. The court cannot,
and defendant's attorney also may not be able to, advise defendant
fully regarding the immigration consequences of the felony

convictions in this case. Defendant understands that unexpected

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ZaSe 8:15-cr-OOO77-.]LS Document 8 Filed 07/23/15 Page 12 of 43 Page |D #:36

immigration consequences will not serve as grounds to withdraw
defendant's guilty plea.

18. Defendant understands that defendant will be required to
pay full restitution to the victims of the offense to which
defendant is pleading guilty, Defendant agrees that, in return for
the USAO's compliance with its obligations under this agreement, the'
Court may order restitution to persons other than the victims of the
offense to which defendant is pleading guilty and in amounts greater
than those alleged in the count to which defendant is pleading
guilty, In particular, defendant agrees that the Court may order
restitution to any victim of any of the following for any losses
suffered by that victim as a result: (a) any relevant conduct, as
defined in U.S.S.G. § 181.3, in connection with the offense to which
defendant is pleading guilty; and (b) any charges not prosecuted
pursuant to this agreement as well as all relevant conduct, as
defined in U.S.S.G. § 181.3, in connection with those counts and
charges. The parties have not come to an agreement on the amount of
restitution.

FACTUAL BASIS

19. Defendant admits that defendant is, in fact, guilty of the
offense to which defendant is agreeing to plead guilty, Defendant
and the USAO agree to the statement of facts provided below and
agree that this statement of facts is sufficient to support a plea
of guilty to the charges described in this agreement and to
establish the Sentencing Guidelines factors set forth in paragraph
21 below; but is not meant to be a complete recitation of all facts
relevant to the underlying criminal conduct or all facts known to

either party that relate to that conduct,

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SaSe 8:15-cr-OOO77-.]LS Document 8 Filed 07/23/15 Page 13 of 43 Page |D #:37

Healthsmart Pacific Inc., doing business as Pacific Hospital of
Long Beach (“Pacific Hospital”) was a hospital located in Long
Beach, California, specializing in surgeries, particularly spinal
and orthopedic surgeries. From at least in or around 1997 to
October 2013, Pacific Hospital was owned and/or operated by Michael
D. Drobot and Co-Conspirator A. From 1999 to at least October 2013,
defendant was the Chief Financial Officer of Pacific Hospital, and
was responsible for overseeing its financial affairs, including the
collection of payments from workers' compensation insurance carriers
and other health insurance carriers, as well as the issuance of
payments to vendors and others for goods and services.

Beginning in or around 1999 and continuing to in or around
October 2013, in Orange and Los Angeles Counties, within the Central
District of California) and elsewhere, defendant CANEDO, together
with other co-conspirators known and unknown to the United States
Attorney, knowingly combined, conspired, and agreed to commit the
following offenses against the United States: Mail Fraud and Honest
Services Mail Fraud, in violation of Title 18, United States Code,
Sections 1341 and 1346; Interstate Travel in Aid of a Racketeering
Enterprise, in violation of Title 18, United States Code, Section
1952(a)(3); Monetary Transactions in Property Derived from Specified
Unlawful Activity, in violation of Title 18, United States Code,
Section 1957; and Payment or Receipt of Kickbacks in Connection with
a Federal Health Care Program, in violation of Title 42, United
States Code, Section 1320a-7b(b)(2)(A).

Specifically, beginning in or around 1999 and continuing
through in or around October 2013, defendant conspired with Drobot,

Co-Conspirator A, other hospital employees, and dozens of doctors,

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JaSe 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 14 of 43 Page |D #:38

chiropractors, marketers, and others to pay kickbacks in return for
the referral of thousands of patients to Pacific Hospital for spinal
surgeries and other medical services paid for primarily through the
California Workers' Compensation System (“CWCS”), and by 2004
through the Federal Employees' Compensation Act (“FECA”) as well.

To channel the kickback payments, the co-conspirators used Drobot's
company Pacific Specialty Physician Management, Inc. (“PSPM”). In
addition, as defendant learned in or about 2008, to help generate
the monies for the kickback payments, the co-conspirators used a co-
schemer's company or Drobot's own company International Implants
(“12”), located in Newport Beach, California, to fraudulently
inflate the price of medical hardware purchased by Pacific Hospital
to be used in the spinal surgeries; defendant and his co-
conspirators knew that, under California law, medical hardware was
considered a “pass-through” cost that could be billed at no more
than $250 over what Pacific Hospital paid for the hardware. In
paying the kickbacks, inflating the medical hardware costs, and
submitting the resulting claims for spinal surgeries and medical
services, defendant and his co-conspirators acted with the intent to
defraud workers' compensation insurance carriers and to deprive the
patients of their right of honest services.

The hospital kickback scheme operated as follows: defendant's
co-conspirators offered to pay kickbacks to doctors, chiropractors,
marketers, and others (the “kickback recipients”) in return for
their referring workers"compensation patients to Pacific Hospital
for spinal surgeries, other types of surgeries, toxicology, and
other services, to be paid through FECA and the CWCS. For spinal

surgeries, typically, the co-conspirators offered to pay a kickback

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' Case 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 15 of 43. Page |D #:39

of $15,000 per lumbar fusion surgery and a lower amount per cervical
fusion surgery provided that the surgeon used in the surgery
hardware supplied by a specified distributor. Beginning in
approximately 2008, Drobot's company 12 was typically the
distributor.

Influenced by the promise of kickbacks, kickback recipients
referred patients insured through the CWCS and the FECA to Pacific
Hospital for spinal surgeries, other types of surgeries, and other
medical services. In some cases, the patients lived dozens or
hundreds of miles from Pacific Hospital, and closer to other
qualified medical facilities. The workers' compensation patients
were not informed that the medical professionals had been offered
kickbacks to induce them to refer the surgeries to Pacific Hospital.

Pursuant to the kickback agreements, kickback recipients
referred patients to Pacific Hospital. In the case of spinal
surgeries, as part of the kickback agreements, surgeons usually used
12 as the distributor. Typically, for surgeries covered by the
CWCS, the price 12 charged for the hardware was inflated by a
multiple of the price at which 12 had purchased the device from the
manufacturer. l

Pacific Hospital submitted claims, by mail and electronically,
to workers' compensation insurance carriers for payment for the
surgeries and other medical services. For a spinal surgery, Pacific
Hospital typically submitted a claim for the hospital's services and
the medical hardware used in the surgery. For surgeries covered by
the CWCS, Pacific Hospital submitted the inflated invoice for the
hardware from 12, plus an additional S250. Thus, the purported

“pass-through” cost submitted in the claims for medical hardware was

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SaSe 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 t Page 16 of 43 Page |D #:40

thousands of dollars -- and sometimes tens of thousands of dollars -
- higher than what the manufacturer actually charged and what 12
actually paid for the hardware.

As defendant and his co-conspirators knew, federal and
California law prohibited paying or receiving the aforementioned
kickbacks for the referral of patients for medical services.
Defendant and his co-conspirators also knew that the insurance
carriers would be unwilling to pay claims for medical services that
were obtained through such illegal kickbacks. Moreover, defendant
and his co-conspirators knew that the insurance carriers would be
unwilling to pay claims for spinal surgery hardware that were
artificially inflated and substantially above the manufacturer's
price. However, defendant's co-conspirators deliberately did not
disclose to the insurance carriers the kickbacks, the inflation of
the medical hardware, or the fact that 12 was owned and controlled
by Drobot and was not a manufacturer of such hardware. Rather, at
some point, defendant's co-conspirators included on 12's invoices
stamps falsely stating that 12 was an “FDA Registered Manufacturer.”

Further, to conceal the illegal kickback payments from the
workers' compensation insurance carriers and patients, defendant's
co-conspirators entered into bogus contracts with the kickback
recipients under which the kickback recipients purported to provide
services to Drobot's companies to justify the kickback payments.
The services and other items of value discussed in those contracts
were, in fact, generally not provided to Pacific Hospital or were
provided at highly inflated prices. The compensation to the
kickback recipients was actually based on the number and type of

surgeries they referred to the hospital. These contracts included,

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among others, the following: collection agreements, option
agreements, research and development agreements, lease and rental
agreements, consulting agreements, marketing agreements, and
management agreements.

For example, the collection agreements provided that doctors
who signed them would assist Pacific Hospital in collecting its fees
for spinal surgeries from insurance carriers, and that in return
Pacific Hospital would pay the doctors a percentage of the total
amount collected, often fifteen percent. 1n reality, however, the
collection was done by Pacific Hospital staff under defendant's
supervision, without assistance from the doctors. The payments to

the doctors were thus purely a reward for referrals. Defendant

’often had to inform the doctors of the status of the hospital's

collections, so that they would know when and how much they would be
paid for their referrals. Moreover, defendant and others expressly
told doctors that they would be paid under the collection agreements
only for surgeries or other services that those doctors had referred
to Pacific Hospital; in some cases, defendant had to mediate among
different doctors who claimed a right to receive kickback payments
for the referral of the same patient and surgery.

Similarly, the collection agreement that Pacific Hospital
signed with Marketer A's company provided that Marketer A would
assist Pacific Hospital in collecting its fees for spinal surgeries
and other services from the Department of Labor under the FECA, and
that in return Pacific Hospital would pay Marketer A's company a
percentage of the total amount collected, which ranged from 25 to 30
percent; the payment amount was later changed to a flat monthly fee

of from $55,000 to $75,000 per month. 1n reality, however, the

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collection was often done primarily by Pacific Hospital staff under
defendant's supervision, with Marketer A's company providing little
assistance. In some cases, Marketer A’s company provided more
extensive collection services. In all cases, the payments that
Pacific Hospital made to Marketer A's company were far above the
fair market value of the services provided, The payments to
Marketer A were thus primarily a reward for Marketer A's referral of
patients to Pacific Hospital.

Defendant and his co-conspirators kept records of the number of
surgeries and other medical services performed at Pacific Hospital
due to referrals from kickback recipients, the amounts collected
from insurance carriers for those services, and the amounts paid to
kickback recipients for those referrals. Periodically, defendant's
co-conspirators amended the bogus contracts with the kickback
recipients to increase or decrease the amount of agreed compensation
described in the contracts, in order to match the amount of
kickbacks paid or promised in return for referrals.

From in or around 2008 to in or around April 2013, Pacific
Hospital billed workers' compensation insurance carriers
approximately $500 million in claims for several thousand spinal
surgeries that were the result of the payment of kickbacks; and
defendant and other co-conspirators paid kickback recipients between
approximately $20 million and $50 million in kickbacks relating to
those claims.

1n furtherance of the conspiracy and to accomplish the objects
of the conspiracy, defendant and other co-conspirators committed
various overt acts within the Central District of California,

including but not limited to the following:

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Overt Act No. 1

On or about November 10, 2009, defendant caused a check in the
amount of S43,650 00 from SCIF to be sent by mail to Pacific
Hospital in reimbursement for a claim for spine surgery on Patient A
performed by Surgeon A, which claim was induced by the payment of a
kickback to Chiropractor A;

Overt Act No. 2

On or about April 14, 2010, defendant caused a check in the
amount of $90,467.80 from SCIF to be sent by mail to Pacific
Hospital in reimbursement for a claim for spine surgery on Patient B
performed by Surgeon B, which claim was induced by the payment of a
kickback to Surgeon C.

Overt Act No. 3

On or about March 31, 2011, defendant caused a check in the
amount of $23,531.23 from Vanliner to be sent by mail to Pacific
Hospital in reimbursement for a claim for spine surgery on Patient C
performed by Surgeon D, which claim was induced by the payment of a
kickback to Surgeon D.

Overt Act No. 4

On or about June 29, 2012, defendant caused a kickback in the
amount of $100,000 to be paid to Surgeon D for the referral of
lumbar and cervical spinal surgeries performed at Pacific Hospital,
including on patients covered by the FECA.
v Overt Act No. 5

On or about January 18, 2013, defendant caused a check in the
amount of $51,115.44 from Traveler's 1nsurance to be sent by mail to

Pacific Hospital in reimbursement for a claim for spine surgery on

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-Patient D performed by Surgeon E, which claim was induced by the
payment of a kickback to Surgeon E.

Overt Act No. 6

On or about January 24, 2013, defendant caused a check in the
amount of $117,142.36 from Vanliner to be sent by mail to Pacific
Hospital in reimbursement for a claim for spine surgery on Patient E
performed by Surgeon F, which claim was induced by the payment of a
kickback to Surgeon F.

Overt Act No. 7

On or about April 24, 2013, defendant caused a check in the
amount of $24,209.90 from ICW to be sent by mail to Pacific Hospital
in reimbursement for a claim for spine surgery on Patient F
performed by Surgeon G, which claim was induced by the payment of a
kickback to Surgeon G.

Overt Act No. 8

On or about November 27, 2013, defendant caused a check in the
amount of $50,903.76 from Traveler's 1nsurance to be sent by mail to
Pacific Hospital in reimbursement for a claim for spine surgery on
Patient G performed by Surgeon G, which claim resulted from the
payment of a kickback to Chiropractor B.

SENTENCING FACTORS

 

20. Defendant understands that in determining defendant's
sentence the Court is required to calculate the applicable
Sentencing Guidelines range and to consider that range, possible
departures under the Sentencing Guidelines, and the other sentencing
factors set forth in 18 U.S.C. § 3553(a). Defendant understands
that the Sentencing Guidelines are advisory only, that defendant

cannot have any expectation of receiving a sentence within the

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calculated Sentencing Guidelines range, and that after considering
the Sentencing Guidelines and the other § 3553(a) factors, the Court
will be free to exercise its discretion to impose any sentence it
finds appropriate up to the maximum set by statute for the crimes of
conviction.

21. Defendant and the USAO agree to the following applicable

Sentencing Guidelines factors;

Base Offense Level: 6 {U.S.S.G. § 281.1(a)(2)]

 

Specific Offense
Characteristics

Loss between ~
$ZOM to $50M: +22 [U.S.S.G. § 2B1.l(b)(l)(L)]

More than 50 victims: ~+4 [U.S.S.G. § 281.1(b)(2)(B)]

Federal health care
offense with gov't
program loss of

between $1M-$7M: +2 [U.S.S.G. § 2B1.1(b)(7)]'

Adjustments

Acceptance of
Responsibility: -3 [U.S.S.G. § 3E1.l]

Total: 31

The USAO will agree to a two-level downward adjustment for
acceptance of responsibility (and, if applicable, move for an
additional one-level downward adjustment under U.S.S.G. § 351.1(b))
only if the conditions set forth in paragraph 6(c)) are met.
Subject to paragraph 7 above and paragraph 33 below, defendant and
the USAO agree not to seek, argue, or suggest in any way, either
orally or in writing, that any other specific offense
characteristics, adjustments, or departures relating to the offense

level be imposed. Defendant agrees, however, that if, after signing

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this agreement but prior to sentencing, defendant were to commit an
act, or the USAO were to discover a previously undiscovered act
committed by defendant prior to signing this agreement, which act,
in the judgment of the USAO, constituted obstruction of justice
within the meaning of U.S.S.G. § 3C1.1, the USAO would be free to
seek the enhancement set forth in that section.

22. Defendant understands that there is no agreement as to
defendant's criminal history or criminal history category.

23. Defendant and the USAO reserve the right to argue for a
sentence outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.SIC. § 3553(a)(1),
(a)(Z), (a)(3), (a)(€), &hd (a)(7).

WAIVER OF CONSTITUTIONAL RIGHTS

 

24. Defendant understands that by pleading guilty, defendant
gives up the following rights:

a) The right to persist in a plea of not guilty,

b) The right to a speedy and public trial by jury.

c) The right to be represented by counsel - and if
necessary have the court appoint counsel - at trial. Defendant
understands, however, that, defendant retains the right to be
represented by counsel - and if necessary have the court appoint
counsel - at every other stage of the proceeding.

d) The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

e) The right to confront and cross-examine witnesses

against defendant,

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f) The right to testify and to present evidence in
opposition to the charges, including the right to compel the
attendance of witnesses to testify.

g)y The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h) Any and all rights to pursue any affirmative
defenses, Fourth Amendment or Fifth Amendment claims, and other
pretrial motions that have been filed or could be filed.

WAIVER OF APPEAL OF CONVICTION

 

25. Defendant understands that, with the exception of an
appeal based on a claim that defendant's guilty plea was
involuntary, by pleading guilty defendant is waiving and giving up
any right to appeal defendant's convictions on the offense to which
defendant is pleading guilty,

LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

 

26. Defendant agrees that, provided the Court imposes a total
term of imprisonment on the single count of conviction of no more
than the statutory maximum, defendant gives up the right to appeal
all of the following: (a) the procedures and calculations used to
determine and impose any portion of the sentence; (b) the term of
imprisonment imposed by the Court, provided it is within the
statutory maximum; (c) the fine imposed by the court, provided it is
within the statutory maximum; (d) the amount and terms of any
restitution order, provided it requires payment of no more than
$20,000,000; (e) the term of probation or supervised release imposed
by the Court, provided it is within the statutory maximum; and

(f) any of the following conditions of probation or supervised

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release imposed by the Court: the conditions set forth in General
Orders 318, 01-05, and/or 05-02 of this Court; the drug testing
conditions mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the
alcohol and drug use conditions authorized by 18 U.S.C.

§ 3563(b)(7).

27. The USAO agrees that, provided (a) all portions of the
sentence are at or below the statutory maximum specified above and
(b) the Court imposes a term of imprisonment of no less than the
statutory maximum, the USAO gives up its right to appeal any portion
of the sentence, with the exception that the USAO reserves the right
to appeal the following: the amount of restitution ordered, if that

amount is less than $20,000,000.

 

RESULT OF WITHDRAWAL OF GUILTY PLEA

428.' Defendant agrees that if, after entering a guilty plea
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant's guilty plea on any basis other than a
claim and finding that entry into this plea agreement was
involuntary, then (a) the USAO will be relieved of all of its
obligations under this agreement, including in particular its
obligations regarding the use of Cooperation 1nformation; (b) in any
investigation, criminal prosecution, or civil, administrative, or
regulatory action, defendant agrees that any Cooperation 1nformation
and any evidence derived from any Cooperation 1nformation shall be
admissible against defendant, and defendant will not assert, and
hereby waives and gives up, any claim under the United States
Constitution, any statute, or any federal rule, that any Cooperation
1nformation or any evidence derived from any Cooperation 1nformation

should be suppressed or is inadmissible; and (c) should the USAO

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choose to pursue any charge that was not filed as a result of this
agreement, then (i) any applicable statute of limitations will be
tolled between the date of defendant's signing of this agreement and
the filing commencing any such action; and (ii) defendant waives and
gives up all defenses based on the statute of limitations, any claim
of pre-indictment delay, or any speedy trial claim with respect to
any such action, except to the extent that such defenses existed as
of the date of defendant's signing this agreement.

EFFECTIVE DATE OF AGREEMENT

 

29, This agreement is effective upon signature and execution
of all required certifications by defendant, defendant's counsel,
and an Assistant United States Attorney.

BREACH OF AGREEMENT

 

30. Defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required
certifications by defendant, defendant's counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any
of defendant's obligations under this agreement (“a breach”), the
USAO may declare this agreement breached. For example, if defendant
knowingly, in an interview, before a grand jury, or at trial,
falsely accuses another person of criminal conduct or falsely
minimizes defendant's own role, or the role of another, in criminal
conduct, defendant will have breached this agreement. All of
defendant's obligations are material, a single breach of this
agreement is sufficient for the USAO to declare a breach, and
defendant shall not be deemed to have cured a breach without the

express agreement of the USAO in writing. If the USAO declares this

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agreement breached, and the Court finds such a breach to have
occurred, then:

a) 1f defendant has previously entered a guilty plea
pursuant to this agreement, defendant will not be able to withdraw
the guilty plea.

'b) The USAO will be relieved of all its obligations
under this agreement; in particular, the USAO: (i) will no longer be
bound by any agreements concerning sentencing and will be free to
seek any sentence up to the statutory maximum for the crime to which
defendant has pleaded guilty; (ii) will no longer be bound by any
agreements regarding criminal prosecution, and will be free to
criminally prosecute defendant for any crime, including charges that
the USAO would otherwise have been obligated not to criminally
prosecute pursuant to this agreement; and (iii) will no longer be
bound by any agreement regarding the use of Cooperation 1nformation
and will be free to use any Cooperation 1nformation in any way in
any investigation, criminal prosecution, or civil, administrative,
or regulatory action by the United States.

c) The USAO will be free to criminally prosecute
defendant for false statement, obstruction of justice, and perjury
based on any knowingly false or misleading statement by defendant.

d) 1n any investigation, criminal prosecution, or civil,
administrative, or regulatory action by the United States:

(i) defendant will not assert, and hereby waives and gives up, any
claim that any Cooperation 1nformation was obtained in violation of
the Fifth Amendment privilege against compelled self-incrimination;
and (ii) defendant agrees that any Cooperation 1nformation and any

Plea 1nformation, as well as any evidence derived from any

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Cooperation 1nformation or any Plea 1nformation, shall be admissible
against defendant, and defendant will not assert, and hereby waives
and gives up, any claim under the United States Constitution, any
statute, Rule 410 of the Federal Rules of Evidence, Rule 11(f) of
the Federal Rules of Criminal Procedure, or any other federal rule,
that any Cooperation 1nformation, any Plea 1nformation, or any
evidence derived from any Cooperation 1nformation or any Plea
1nformation should be suppressed or is inadmissible.

31. Following the Court/s finding of a knowing breach of this
agreement by defendant, should the USAO choose to pursue any charge
that was not filed as a result of this agreement, then:

a) Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant's signing of
this agreement and the filing commencing any such action,

l b) Defendant waives and gives up all defenses based on
the statute of limitations, any claim of pre-indictment delay, or
any speedy trial claim with respect to any such action, except to
the extent that such defenses existed as of the date of defendant's
signing this agreement.

COURT AND PROBATION OFFICE NOT PARTIES

 

32. Defendant understands that the Court and the United States
Probation Office are not parties to this agreement and need not
accept any of the USAO's sentencing recommendations or the parties’
agreements to facts or sentencing factors.

33. Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation Office and the Court, (b) correct any

and all factual misstatements relating to the Court's Sentencing

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SaSe 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 28 of 43 Page |D #:52

Guidelines calculations and determination of sentence, and (c) argue
on appeal and collateral review that the Court’s Sentencing
Guidelines calculations and the sentence it chooses to impose are
not error, although each party agrees to maintain its view that the
calculations in paragraph 21 are consistent with the facts of this
case. While this paragraph permits both the USAO and defendant to
submit full and complete factual information to the United States
Probation Office and the Court, even if that factual information may
be viewed as inconsistent with the facts agreed to in this
agreement, this paragraph does not affect defendant's and the USAO's
obligations not to contest the facts agreed to in this agreement.

34. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to
the maximum established by statute, defendant cannot, for that
reason, withdraw defendant's guilty plea, and defendant will remain
bound to fulfill all defendant's obligations under this agreement.
Defendant understands that no one -- not the prosecutor, defendant's
attorney, or the Court -- can make a binding prediction or promise
regarding the sentence defendant will receive, except that it will
be within the statutory maximum. z

NO ADDITIONAE AGREEMENTS

 

35. Defendant understands that, except as set forth herein,
there are no promises, understandings, or agreements between the
USAG and defendant or defendant's attorney, and that no additional
promise, understanding, or agreement may be entered into unless in a

writing signed by all parties or on the record in court.

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Cas_e 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 29 of 43 Page |D #:53

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PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

 

36. The parties agree that this agreement will be considered

part of the record of defendant's guilty plea hearing as if the

entire agreement had been read into the record of the proceeding.

AGREED AND ACCEPTED

UNITED STATES ATTORNEY’S OFFICE

FOR THE CENTRAL DISTRICT OF CALIFORNIA

EILEEN M. DECKER
United States Attorney

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Attorney for Defendant
James L. Canedo

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JOSHUA M. nose nate
Assistant Un' ed tates Attorney
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.JAMES 1,. W Date-' l
Defendant '
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1 ANTHONY P aCHEco’ Date

 

Case 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 30 of 43 Page |D #:54

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CERTIFICATION OF DEFENDANT

 

1 have read this agreement in its entirety. 1 have had enough
time to review and consider this agreement, and 1 have carefully and
thoroughly discussed every part of it with my attorneys. 1
understand the terms of this agreement, and 1 voluntarily agree to
those terms. I have discussed the evidence with my attorneys, and
my attorneys have advised me of my rights, of possible pretrial
motions that might be filed, of possible defenses that might be
asserted either prior to or at trial, of the sentencing factors set
forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
provisions, and of the consequences of entering into this agreement.
No promises, inducements, or representations of any kind have been
made to me other than those contained in this agreement. No one has
threatened or forced me in any way to enter into this agreement. I
am satisfied with the representation of my attorneys in this matter,
and 1 am pleading guilty because 1 am guilty of the charges and wish
to take advantage of the promises set forth in this agreement, and

not for any other reason.

7//@//1/
JAMES L. cansde/ ' _ Dade /`
Defendant `.

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Case 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 31 of 43 Page |D #:55

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CERTIFICATION OF DEFENDANT'S ATTORNEY

1 am James L. Canedo's attorney. 1 have carefully and
thoroughly discussed every part of this agreement with my client.
Further, 1 have fully advised my client of his rights, of possible
pretrial motions that might be filed, of possible defenses that
might be asserted either prior to or at trial, of the sentencing
factors set forth in 18 U.S.Cr § 3553(a), of relevant Sentencing
Guidelines provisions, and of the consequences of entering into this
agreement. To my knowledge: no promises, inducements, or
representations of any kind have been made to my client other than
those contained in this agreement; no one has threatened or forced
my client in any way to enter into this agreement; my client's
decision to enter into this agreement is an informed and voluntary
one; and the factual basis set forth in this agreement is sufficient

to support my client's entry of guilty plea pursuant to this

 

 

agreement.
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A'NTHONY PAcHsco . hare /

Attorney for Defendant
James L. Canedo

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Case 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 32 of 43 Page |D #:56

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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

SOUTHERN DIVISION

UNITED STATES OF AMERICA, SA CR NO. 15-
PhwwH/' 18198441198
v. {18 U.S.C. § 371: Conspiracy]

JAMES L. CANEDO,

Defendant.

 

 

 

 

The United States Attorney charges:
[18 U.S.C. § 371]

A. INTRODUCTORY ALLEGATIONS

 

At all times relevant to this 1nformation:

1. Healthsmart Pacific 1nc., doing business as Pacific
Hospital of Long Beach (“Pacific Hospital”), was a hospital
located in Long Beach, California/ specializing in surgeries,
particularly spinal and orthopedic surgeries; From at least in
or around 1997 to October 2013, Pacific Hospital was owned

and/or operated by Michael D. Drobot and Co-Conspirator A.

 

 

 

EXl-i 11
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Case 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 33 of 43 Page |D #:57

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From 1999 to at least October 2013, defendant JAMES L. CANEDO
was the Chief Financial Officer of Pacific Hospital.

2. 1nternational Implants LLC (“12”) was a limited
liability company owned and operated by Drobot, that was located
in Newport Beach, California. 12 purchased implantable medical
devices (“hardware”) for use in spinal surgeries from original
manufacturers and sold them to hospitals, particularly Pacific
Hospital. 12 was registered with the United States Food and
Drug Administration as a repackager/relabeler, but was not
registered as a manufacturer, and in fact did not manufacture
medical devices.

3. The California Workers’ Compensation System (“CWCS”)
was a system created by California law to provide insurance
covering treatment of injury or illness suffered by individuals
in the course of their employment. Under the CWCS, employers
were required to purchase workers' compensation insurance
policies from insurance carriers to cover their employees. _When
an employee suffered a covered injury or illness and received
medical services, the medical service provider submitted a claim
for payment to the relevant insurance carrier, which then paid
the claim. Claims were submitted to and paid by the insurance
carriers either by mail or electronically, The CWCS was
governed by various California laws and regulations.

t 4. The California State Compensation 1nsurance Fund
(“SCIF”) was a non-profit insurance carrier, created by the
California Legislature, which provided workers' compensation

insurance to employees in California, including serving as the

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Case 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 34 of 43 Page |D.#:58

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“insurer of last resort” under the CWCS system for employees
without any other coverage.

5. California law, including but not limited to the
California Business and Professions Code, the California
1nsurance Code, and the California Labor Code, prohibited the
offering, delivering, soliciting, or receiving of anything of
value in return for referring a patient for medical services.

6. Before January 2013, California law allowed a hospital
to bill the cost of medical hardware separately from the other
costs of a surgery, such as the hospital's and surgeon's
services, the reimbursement rates of which were set by a fee
schedule. The hardware was considered a “pass-through” cost and
billing was limited to 8250 over what the hospital paid for the
hardware.

7. The Federal Employees' Compensation Act (“FECA”)
provided benefits to civilian employees of the United States,
including United States Postal Service employees, for medical
expenses and wage-loss disability due to a traumatic injury or
occupational disease sustained while working as a federal
employee. Benefits available to injured employees included
rehabilitation, medical, surgical, hospital, pharmaceutical, and
supplies for treatment of an injury, The Department of Labor
(“DOL”) - Office of Workers’ Compensation Programs (“OWCP”) was
the governmental body responsible for administering the FECA.
When a federal employee suffered a covered injury or illness and
received medical services, the medical service provider

submitted a claim for payment by mail or electronically to

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Case 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 35 of 43 Page |D #:59

Affiliated Computer Services (“ACS”l, located in London,
Kentucky, which was contracted with the DOL to handle such
claims. Upon approval of the claim, ACS sent payment by mail or
electronic funds transfer from the U.S. Treasury in
Philadelphia, Pennsylvania, to the medical service provider.

8. Federal law prohibited the offering, delivering,
soliciting, or receiving of anything of value in return for
referring a patient for medical services paid for by a federal
health care benefit program;

B. OBJECTS OF THE CONSPIRACY

 

9. Beginning in or around 1999, and continuing to in or
around October 2013, in Orange and Los Angeles Counties, within
the Central District of California, and elsewhere, defendant
CANEDO, together with others known and unknown to the United
States Attorney, combined, conspired, and agreed to knowingly
and intentionally commit the following offenses against the
United States:

a. Mail Fraud and Honest Services Mail Fraud, in

“violation of Title 18, United States Code, Sections 1341 and

1346;

b. Interstate Travel in Aid of a Racketeering
Enterprise, in violation of Title 18, United States Code,
Section 1952(a)(3);

c. Monetary 1ransactions in Property Derived from
Specified Unlawful Activity, in violation of Title 18, United

States Code, Section 1957; and

Case 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 36 of 43 Page |D #:60

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d. Payment or Receipt of Kickbacks in Connection
with a Federal Health Care Program, in violation of Title 42,
United States Code, Section 1320a-7b(b)(2)(A).

C. MANNER AND MEANS OF THE CONSPIRACY

 

10. The objects of the conspiracy were to be carried out,
and were carried out, in substance, as follows:

a. Drobot and other co-conspirators offered to pay
kickbacks to doctors, chiropractors, workers' compensation and
personal injury attorneys, marketers, and others for their
referring workers' compensation patients to Pacific Hospital for
spinal surgeries and other medical services, to be paid
primarily through the CWCS and the FECA,{ For spinal surgeries,
typically, Drobot offered to pay a kickback of $15,000 per
lumbar fusion surgery and lower amount per cervical fusion
surgery. v

b. 1nfluenced by the promise of kickbacks, doctors,
chiropractors, workers' compensation and personal injury
attorneys, marketers, and others referred patients insured
through the CWCS and the FECA to Pacific Hospital for spinal

surgeries, other types of surgeries, and other medical services.

1 The workers' compensation patients were not informed that the

medical professionals had been offered kickbacks to induce them
to refer the surgeries and other medical services to Pacific
Hospital.

c. The surgeries and other medical services were
performed on the referred workers' compensation patients at

Pacific Hospital.

Case 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 37 of 43 Page |D #:61

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d. 12, or another distributor who was a co-
conspirator, purchased medical hardware from a manufacturer and
sold it to Pacific1Hospital for use in spinal surgeries.
Typically, the price 12 or the co-conspirator distributor
charged for the hardware was inflated, from four times to as
much as ten times the price at which 12 or the other distributor
had purchased the device from the manufacturer. On 12's

invoices, 12 included a stamp falsely stating that 12 was an

°“FDA Registered Manufacturer.”

e, 4Pacific Hospital submitted claims, by mail and
electronically, to SCIF and other workers' compensation
insurance carriers for payment of the costs of the surgeries and
other medical services. 1ncluded with the claims for spinal
surgeries were the inflated hardware invoices from 12 or the co-
conspirator distributor.

v f. As defendant CANEDO and the other co-conspirators
knew and intended, and as was reasonably foreseeable to them, in
submitting claims for payment, Pacific Hospital made materially`
false and misleading statements to, and concealed material
information from, SCIF and other workers' compensation insurance
carriers, including that: (1) Pacific Hospital did not disclose
to the insurance carriers that it had offered or paid kickbacks
for the referral of the surgeries and other medical services for
which it was submitting claims; and (2) the hardware invoices
were fraudulently inflated,

g. The insurance carriers paid Pacific Hospital's

claims, by mail or electronically,

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e 8:15-cr-00077-.]LS Document 8 Filed 07/2_3/15 Page 38 of 43 Page |D #:62

h. Defendant CANEDO and other co-conspirators paid,
and caused others to pay kickbacks to the doctors,
chiropractors, workers' compensation and personal injury
attorneys, marketers, and others who had referred patients to
Pacific Hospital for surgeries and other medical services. The
kickback recipients included, among others, various surgeons,
other doctors, chiropractors, marketers, and attorneys,

i, To conceal the nature of the kickback payments
from both workers' compensation insurance carriers and patients,
Drobot, through one of the companies he owned and/or operated,
entered into bogus contracts with the doctors, chiropractors,
workers' compensation and personal injury attorneys, marketers,
and others, The services discussed in those contracts were, in
fact, generally not provided or were provided at highly inflated
prices. Ratherj the compensation paid was based on the number
and type of surgeries and other medical services referred to
Pacific Hospital. Drobot and his co-conspirators entered into
the following bogus contracts, among others, in order to hide
kickback payments: collection agreements, option agreements,
research and development agreements, lease and rental
agreements, consulting agreements, marketing agreements, and
management agreements.

j. For example, the collection agreements provided
that doctors who signed them would assist Pacific Hospital in
collecting its fees for spinal surgeries from insurance
carriers, and that in return Pacific Hospital would pay the

doctors a percentage of the total amount collected, often

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Case 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 39 of 43 Page |D #:63

fifteen percent. 1n reality, however, the collection was done
by Pacific Hospital staff under defendant CANEDO}s supervision,
without assistance from the doctors. The payments to the
doctors were thus purely a reward for referrals. Defendant
CANEDO often had to inform the doctors of the status of the
hospital's collections, so that they would know when and how
much they would be paid for their referrals. Moreover,
defendant CANEDO and others expressly told doctors that they

would be paid under the collection agreements only for surgeries

`or other services that those doctors had referred to Pacific

Hospital; in some cases, defendant CANEDO had to mediate among
different doctors who claimed a right to receive kickback
payments for the referral of the same patient and surgery.

k. Similarly, the collection agreement that Pacific
Hospital signed with Marketer A’s company provided that Marketer
A would assist Pacific Hospital in collecting its fees for
spinal surgeries and other services from the Department of Labor
under the FECA, and that in return Pacific Hospital would pay
Marketer A's company a percentage of the total amount collected,
which ranged from 25 to 30 percent; the payment amount was later
changed to a flat monthly fee of from $55,000 to $75,000 per
month, In reality, however, the collection was often done
primarily by Pacific Hospital staff under defendant CANEDO’s
supervision, with Marketer A's company providing little
assistance. In some cases, Marketer A's company provided more
extensive collection services. 1n all cases, the payments that

Pacific Hospital made to Marketer A’s company were far above the

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Case 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 40 of 43 Page |D #:64

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fair market value of the services provided, The payments to
Marketer A were thus primarily a reward for Marketer A's
referral of patients to Pacific Hospital.

l. Defendant CANEDO and other co-conspirators kept
records of the number of surgeries and other medical services
performed at Pacific Hospital due to referrals from the kickback
recipients, as well amounts paid to the kickback recipients for
those referrals. Periodically, Drobot and other co-conspirators
amended the bogus contracts with the kickback recipients to
increase or decrease the amount of agreed compensation described
in the contracts, in order to match the amount of kickbacks paid

or promised in return for referrals.

 

D. EFFECTS OF THE CONSPIRACY

11. Had SCIF and the other workers compensation insurance
carriers known the true facts regarding (1) the payment of
kickbacks for the referral of workers' compensation patients for
surgeries and other medical services performed at Pacific
Hospital and (2) the fraudulent inflation of the cost of medical
hardware used in spinal surgeries, they would not have paid the
claims or would have paid a lesser amount.

12. From in or around 2008 to in or around April 2013,
Pacific Hospital billed workers' compensation insurance carriers.
approximately $500 million in claims for spinal surgeries that
were the result of the payment of a kickback, and defendant
CANEDO and other co-conspirators paid kickback recipients
between approximately 320 million and 350 million in kickbacks

relating to those claims.

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Cas§e 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 41 of 43 Page |D #:65

E. OVERT ACTS

13. 1n furtherance of the conspiracy, and to accomplish
its objects, defendant CANEDO, together with others known and
unknown to the United States Attorney, committed the following
overt acts, among others, within the Central District of
California, and elsewhere:

Overt Act No. 1: On or about November 10, 2009, defendant
CANEDO caused a check in the amount of $43,650.00 from SCIF to
be sent by mail to Pacific Hospital in reimbursement for a claim
for spine surgery on Patient A performed by Surgeon A, which
claim was induced by the payment of a kickback to Chiropractor
A.

Overt Act No. 2: On or about April 14, 2010, defendant
CANEDO caused a check in the amount of $90,467.80 from SCIF to
be sent by mail to Pacific Hospital in reimbursement for a claim
for spine surgery on Patient B performed by Surgeon B, which
claim was induced by the payment of a kickback to Surgeon C.

Overt Act No. 3: On or about March 31, 2011, defendant
CANEDO caused a check in the amount of $23,531.23 from Vanliner
to be sent by mail to Pacific Hospital in reimbursement for a
claim for spine surgery on Patient C performed by Surgeon D,
which claim was induced by the payment of a kickback to Surgeon
D.

Overt Act No. 4: On or about June 29, 2012, defendant
CANEDO caused a kickback in the amount of $100,000 to be paid to

Surgeon D for the referral of lumbar and cervical spinal

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CasFe 8:15-cr-00077-.]LS Document 8 Filed 07/23/15 Page 42 of 43 Page |D #:66

surgeries performed at Pacific Hospital, including on patients
covered by the FECA.

Overt Act No. 5: On or about January 18, 2013, defendant
CANEDO caused a check in the amount of $51,115.44 from
Traveler's 1nsurance to be sent by mail to Pacific Hospital in
reimbursement for a claim for spine surgery on Patient D
performed by Surgeon E, which claim was induced by the payment
of a kickback to Surgeon E.

Overt Act No. 6: On or about January 24, 2013, defendant
CANEDO caused a check in the amount of $117,142 36 from Vanliner
to be sent by mail to Pacific Hospital in reimbursement for a
claim for spine surgery on Patient E performed by Surgeon F,
which claim was induced by the payment of a kickback to Surgeon
F.

Overt Act No. 7: On or about April 24, 2013, defendant
CANEDO caused a check in the amount of $24,209.90 from ICW to be
sent by mail to Pacific Hospital in reimbursement for a claim
for spine surgery on Patient F performed by Surgeon G, which
claim was induced by the payment of a kickback to Surgeon G.

Overt Act No. 8: On or about November 27, 2013, defendant
CANEDO caused a check in the amount of $50,903.76 from

Traveler's 1nsurance to be sent by mail to Pacific Hospital in

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reimbursement for a claim for spine surgery on Patient G
performed by Surgeon G, which claim resulted from the payment of

a kickback to Chiropractor B.

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